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11

12                                 UNITED STATES DISTRICT COURT

13                         FOR THE EASTERN DISTRICT OF CALIFORNIA

14                        AND THE NORTHERN DISTRICT OF CALIFORNIA

15            UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

16                 PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

17     RALPH COLEMAN, et al.,                         No. 2:90-cv-00520 LKK JFM P
18                   Plaintiffs,                      THREE-JUDGE COURT
19           v.
20     ARNOLD SCHWARZENEGGER, et al.,

21                   Defendants.

22
       MARCIANO PLATA, et al.,                        No. C01-1351 TEH
23
                     Plaintiffs,                      THREE-JUDGE COURT
24            v.
                                                      DECLARATION OF PAUL MELLO IN
25     ARNOLD SCHWARZENEGGER, et al.,                 SUPPORT OF DEFENDANTS’ MOTIONS
                                                      IN LIMINE
26                   Defendants
                                                      To: Three-Judge Panel
27

28     ///
                                                     -1-
       DECL. PAUL MELLO SUPP. DEFS.’ MOT. IN LIMINE
                                                                                          1648445.1
       (CASE NOS. 90-00520; 01-1351)
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 1            I, Paul B. Mello, declare as follows:

 2            1.     I am an attorney licensed to practice in the State of California and admitted

 3     to the Northern and Eastern Districts of the United States District Court of California. I

 4     am a partner with the firm of Hanson Bridgett LLP, counsel of record for Defendants in

 5     the Plata v. Schwarzenegger, et al., matter. I submit this declaration in support of

 6     Defendants’ motions in limine. I have personal knowledge of the matters set forth in this

 7     declaration, and if called upon to do so, would and could competently testify to the

 8     matters set forth below.

 9            2.     Attached as Exhibit A is a true and correct copy of relevant portions of the
10     deposition transcript of Plaintiffs’ expert, Jeanne Woodford, taken on December 18,

11     2007. The court reporter’s certification is also attached. This exhibit pertains to

12     Defendants’ Motion in Limine Nos. 1, 8, and 9.

13            3.     Attached as Exhibit B is a true and correct copy of relevant portions of the

14     supplemental deposition transcript of Plaintiffs’ expert, Jeanne Woodford, taken on

15     September 15, 2008. The court reporter’s certification is also attached. This exhibit

16     pertains to Defendants’ Motion in Limine Nos. 8 and 9.

17            4.     Attached as Exhibit C is a true and correct copy of the expert report of

18     Jeanne Woodford, dated November 9, 2007. This exhibit pertains to Defendants’ Motion

19     in Limine Nos. 1 and 8.
20            5.     Attached as Exhibit D is a true and correct copy of the supplemental expert

21     report of Jeanne Woodford, dated August 15, 2008. This exhibit pertains to Defendants’

22     Motion in Limine Nos. 1 and 3.

23            6.     Attached as Exhibit E is a true and correct copy of relevant portions of the

24     deposition transcript of Plaintiffs’ expert, Doyle Wayne Scott, taken on December 14,

25     2007. The court reporter’s certification is also attached. This exhibit pertains to

26     Defendants’ Motion in Limine Nos. 8 and 9.

27            7.     Attached as Exhibit F is a true and correct copy of relevant portions of the

28     supplemental deposition transcript of Plaintiffs’ expert, Doyle Wayne Scott, taken on
                                                  -2-
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 1     October 1, 2008. The court reporter’s certification is also attached. This exhibit pertains

 2     to Defendants’ Motion in Limine No. 9.

 3            8.       Attached as Exhibit G is a true and correct copy of the expert report of

 4     Doyle Wayne Scott, dated November 9, 2007. This exhibit pertains to Defendants’

 5     Motion in Limine Nos. 1 and 3.

 6            9.       Attached as Exhibit H is a true and correct copy of the supplemental expert

 7     report of Doyle Wayne Scott, dated August 13, 2008. This exhibit pertains to

 8     Defendants’ Motion in Limine No. 1.

 9            10.      Attached as Exhibit I is a true and correct copy of relevant portions of the
10     deposition transcript of Plaintiffs’ expert, Dr. Ronald Shansky, taken on December 10,

11     2007. The court reporter’s certification is also attached. This exhibit pertains to

12     Defendants’ Motion in Limine Nos. 8 and 9.

13            11.      Attached as Exhibit J is a true and correct copy of relevant portions of the

14     supplemental deposition transcript of Plaintiffs’ expert, Dr. Ronald Shansky, taken on

15     October 4, 2008. The court reporter’s certification is also attached. This exhibit pertains

16     to Defendants’ Motion in Limine No. 9.

17            12.      Attached as Exhibit K is a true and correct copy of relevant portions of the

18     deposition transcript of Plaintiffs’ non-retained expert, Jeff Beard, taken on September

19     26, 2008. The court reporter’s certification is also attached. This exhibit pertains to
20     Defendants’ Motion in Limine Nos. 8 and 13.

21            13.      Attached as Exhibit L is a true and correct copy of the expert report of Dr.

22     James Austin, dated November 9, 2007. This exhibit pertains to Defendants’ Motion in

23     Limine No. 8.

24            14.      Attached as Exhibit M is a true and correct copy of relevant portions of the

25     supplemental deposition transcript of Plaintiffs’ expert, Dr. James Austin, taken on

26     September 19, 2008. This exhibit pertains to Defendants’ Motion in Limine No. 8.

27            15.      Attached as Exhibit N is a true and correct copy of relevant portions of the

28     deposition transcript of Plaintiffs’ expert, Joseph Lehman, taken on September 16, 2008.
                                                     -3-
       DECL. PAUL MELLO SUPP. DEFS.’ MOT. IN LIMINE
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 1     The court reporter’s certification is also attached. This exhibit pertains to Defendants’

 2     Motion in Limine Nos. 8 and 9.

 3            16.      Attached as Exhibit O is a true and correct copy of the expert report of

 4     Joseph Lehman, dated August 15, 2008. This exhibit pertains to Defendants’ Motion in

 5     Limine No. 1.

 6            17.      Attached as Exhibit P is a true and correct copy of relevant portions of the

 7     deposition transcript of Plaintiffs’ expert, James Gilligan, taken on September 19, 2008.

 8     This exhibit pertains to Defendants’ Motion in Limine No. 12.

 9            18.      Attached as Exhibit Q is a true and correct copy of the expert report of
10     James Gilligan, dated August 15, 2008. This exhibit pertains to Defendants’ Motion in

11     Limine No. 12.

12            19.      Attached as Exhibit R is a true and correct copy of the rebuttal expert

13     report of James Gilligan, dated August 27, 2008. This exhibit pertains to Defendants’

14     Motion in Limine No. 12.

15            20.      Attached as Exhibit S is a true and correct copy of relevant portions of the

16     deposition transcript of Plaintiffs’ expert, Dr. Pablo Stewart, taken on December 11,

17     2007. This exhibit pertains to Defendants’ Motion in Limine No. 9.

18            21.      Attached as Exhibit T is a true and correct copy of relevant portions of the

19     deposition transcript of Plaintiffs’ expert, Dr. Pablo Stewart, taken on September 18,
20     2008. This exhibit pertains to Defendants’ Motion in Limine No. 12.

21            22.      Attached as Exhibit U is a true and correct copy of the initial expert report

22     of Dr. Pablo Stewart, dated November 9, 2007. This exhibit pertains to Defendants’

23     Motion in Limine No. 12.

24            23.      Attached as Exhibit V is a true and correct copy of the supplemental expert

25     report of Dr. Pablo Stewart, dated August 15, 2008. This exhibit pertains to Defendants’

26     Motion in Limine No. 12.

27            24.      Attached as Exhibit W is a true and correct copy of relevant portions of the

28     deposition transcript of Intervenor CCPOA’s witness Deborah Rowlett, taken on
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       DECL. PAUL MELLO SUPP. DEFS.’ MOT. IN LIMINE
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 1     September 2, 2008. This exhibit pertains to Defendants’ Motion in Limine No. 2.

 2            25.    Attached as Exhibit X is a true and correct copy of relevant portions of the

 3     deposition transcript of Intervenor CCPOA’s witness Gary Benson, taken on September

 4     2 2008. This exhibit pertains to Defendants’ Motion in Limine No. 2.

 5            26.    Attached as Exhibit Y is a true and correct copy of relevant portions of the

 6     deposition transcript of Intervenor CCPOA’s witness Eric Adelman, taken on September

 7     2, 2008. This exhibit pertains to Defendants’ Motion in Limine No. 2.

 8            27.    Attached as Exhibit Z is a true and correct copy of relevant portions of the

 9     deposition transcript of Intervenor CCPOA’s witness Ruben Leija, taken on September 4,
10     2008. This exhibit pertains to Defendants’ Motion in Limine No. 2.

11            28.    Attached as Exhibit AA is a true and correct copy of relevant portions of the

12     deposition transcript of Intervenor CCPOA’s witness Brenda Gibbons, taken on

13     September 4, 2008. This exhibit pertains to Defendants’ Motion in Limine No. 2.

14            29.    Attached as Exhibit BB is a true and correct copy of relevant portions of the

15     deposition transcript of Intervenor CCPOA’s witness Kevin Raymond, taken on

16     September 4, 2008. This exhibit pertains to Defendants’ Motion in Limine No. 2.

17            30.    Attached as Exhibit CC is a true and correct copy of the expert report of Dr.

18     Dr. Craig Haney, dated August 15, 2008. This exhibit pertains to Defendants’ Motion in

19     Limine Nos. 8 and 10.
20            31.    In response to Plaintiffs’ motion to compel supplemental discovery

21     responses, Defendants agreed to supplement certain discovery responses by August

22     15, 2008. (See Joint Statement Re Plaintiffs’ Motion to Compel Supplemental

23     Responses and Production, Plata Docket No. 1358, at 3.) Defendants did in fact

24     produce documents and supplemental discovery on that date. This paragraph pertains

25     to Defendants’ Motion in Limine No. 4.

26            32.    On August 15, 2008, Kyle Lewis, counsel for Defendants sent an email to

27     Plaintiffs’ counsel requesting that Plaintiffs’ counsel comply with Federal Rule of Civil

28     Procedure 26(e)(1)(A) by supplementing and correcting incomplete and incorrect
                                               -5-
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 1     responses to interrogatories, requests for admissions, and requests for production of

 2     documents previously served on Plaintiffs by the Plata and Coleman Defendants, and to

 3     provide Defendants with a privilege log. A true and correct copy of Mr. Lewis’ August 15,

 4     2008 correspondence is attached as Exhibit DD. This exhibit pertains to Defendants’

 5     Motion in Limine No. 4.

 6            33.      Samantha Tama from my office continued to meet and confer on this issue

 7     on August 19, 2008 with Plaintiffs’ counsel, Maria Morris. As part of this meet and confer

 8     correspondence, Defendants listed specific deficiencies in Plaintiffs’ discovery responses

 9     and requested a response by September 1, 2008. A true and correct copy of this email
10     exchange is attached as Exhibit EE. This exhibit pertains to Defendants’ Motion in

11     Limine No. 4.

12            34.      Receiving no response, Ms. Tama again wrote Ms. Morris regarding the

13     outstanding supplemental discovery on September 4, 2008. A true and correct copy of

14     that email discussion is attached as Exhibit FF. This pertains to Defendants’ Motion in

15     Limine No. 4.

16            35.      Plaintiffs did supplement their discovery on or about September 8, 2008.

17     However, their discovery did not address all of the deficiencies that Defendants noted to

18     Plaintiffs. For instance, Plaintiffs did not correct certain deficiencies in Plaintiffs’ Third

19     Supplemental Response to Defendant Tilton’s First Set of Interrogatories. A true and
20     correct copy of which is attached as Exhibit GG. Furthermore, Plaintiffs have produced

21     a minimal amount of documents responsive to Defendants’ Requests for Production of

22     Documents and have failed to produce a privilege log responsive to Defendants’

23     Request for Production of Documents This pertains to Defendants’ Motion in Limine No.

24     4.

25            36.      During discovery, Plaintiffs sought discovery regarding sentencing

26     commissions and sentencing reform. For example, Plaintiffs’ Request for Production of

27     Documents Nos. 32 and 33 seeks this information. A true and correct copy of Plaintiffs’

28     Request for Production of Documents is attached as Exhibit HH. This pertains to
                                                -6-
       DECL. PAUL MELLO SUPP. DEFS.’ MOT. IN LIMINE
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 1     Defendants’ Motion in Limine No. 5.

 2            37.    During the course of this Three-Judge Panel proceeding, the parties

 3     engaged in extensive settlement discussions. During the course of these discussions,

 4     Defendants and Plaintiffs agreed that all information provided and obtained during this

 5     settlement process is confidential and cannot be used by the parties in the three-judge

 6     panel proceedings or any other proceeding. A true and correct copy of email

 7     correspondence containing this agreement is attached as Exhibit II.

 8            38.    Attached as Exhibit JJ is a true and correct copy of relevant portions of the

 9     deposition transcript of Plaintiffs’ expert, Dr. Craig Haney, taken on September 26, 2008.
10     The court reporter’s certification is also attached. This exhibit pertains to Defendants’

11     Motion in Limine No 10. (THIS DOCUMENT IS FILED UNDER SEAL.)

12            39.    Attached as Exhibit KK is a true and correct copy of the Prison

13     Overcrowding State of Emergency Proclamation issued by Governor Schwarzenegger

14     on October 4, 2006. This exhibit pertains to Defendants’ Motion in Limine No. 7.

15            40.    Attached as Exhibit LL is a true and correct copy of Assembly Bill 900, as

16     signed into law by Governor Schwarzenegger on May 3, 2007. This exhibit pertains to

17     Defendants’ Motion in Limine No. 7.

18            41.    Attached as Exhibit MM is a true and correct copy of a CDCR

19     Memorandum dated March 2, 2001, from Larry Witek, Deputy Director Institutions
20     Division, and Susann Steinberg, M.D., Deputy Director Health Care Services Division, to

21     all of the Wardens, Health Care Managers, and Chief Psychiatrists statewide regarding

22     transfer time frames for inmates in the Mental Health Services Delivery System. This

23     exhibit pertains to Defendants’ Motion in Limine No. 11.

24            42.    Attached as Exhibit NN is a true and correct copy of relevant portions of

25     the deposition transcript of Plaintiff Ralph Coleman, taken on December 13, 2007. The

26     court reporter’s certification page is also attached. This exhibit pertains to Motion in

27     Limine No. 16.

28            43.    Attached as Exhibit OO is a true and correct copy of a letter dated January
                                                  -7-
       DECL. PAUL MELLO SUPP. DEFS.’ MOT. IN LIMINE
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 1     2, 2008, from Plaintiffs’ counsel Jane Kahn to court reporter Stacey Marsala indicating

 2     changes to be made to the deposition transcript of Ralph Coleman. My co-counsel, Lisa

 3     Tillman, was a “cc” recipient to this letter. This exhibit pertains to Motion in Limine No.

 4     16.

 5            I declare under penalty of perjury of the laws of the State of California that the

 6     foregoing is true and correct and that this declaration was executed on October 20, 2008

 7     in San Francisco, California.

 8
                                                   /s/ Paul B. Mello
 9                                                PAUL B. MELLO
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       DECL. PAUL MELLO SUPP. DEFS.’ MOT. IN LIMINE
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